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Plaintiff, Pro Se Pla 59
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Newton, MA, 02464 ET Bee

UNITED STATES DISTRICT COURT
DISTRICT COURT OF MASSACHUSETTS _
Frederick L. Runyon, Plaintiff, ) CIVIL ACTION NO. 13-11236-DJC
vs. )
Wellington Management Company, ) PLAINTIFF’S OPPOSITION TO
)
)

DEFENDANTS’ MOTION TO DISMISS
PURSUANT TO FED. R., CIV. P.
) 12(B) (1) AND (6)

LLP; Anne Mahoney; Stephen

Klar; Defendants

Introduction
Defendants Wellington Management Company, LLP
(“Wellington”), Anne Mahoney (“Mahoney”), and Stephen Klar
(“Klar”), (collectively “the Defendants”), by their counsel,
have moved the Court pursuant to Fed. R. Civ. P. 12(b) (1) and
(6) to dismiss Counts I (as to Mahoney and Klar only), II, III,
IV and V of the Complaint, Injunctive Relief and Jury Demand

filed by Plaintiff (the “Complaint”).

Supporting this action, Defendants have submitted to the
Court a Motion to Dismiss (the “Motion”), a Memorandum in

Support of Motion to Dismiss (the “Memorandum”), and an
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Affidavit of Ilene Robinson Sunshine (the “Defendants’

Affidavit”).

Plaintiff notes first that Defendants have not moved to
dismiss Count I as to Wellington Management Company, LLP; thus,
this case will move forward regardless of this Court’s ruling on

befendants’ motion.’

Defendants seek dismissal of all claims except the OWBPA
claim against Wellington for two reasons: first, they claim that
Plaintiff signed a valid waiver of his claims under Chapter
151B, and second, that Plaintiff failed to allege a ciaim for

fraudulent inducement. Both arguments are wrong.

Plaintiff includes with this Motion in Opposition the
Affidavit of Frederick L. Runyon containing factual matter

supporting Plaintiff’s claims.

Standard for Motion to Dismiss

As Ocasio-Hernandez makes clear, dismissal of a complaint

pursuant to Rule 12(b) (6) is inappropriate if the complaint
satisfies the two-pronged requirement in Rule 8(a) (2) of "a
short and plain statement of the claim showing that the pleader

is entitled to relief.” Id. at 8 (citing Fed.R.Civ.P. 8{a) (2)).

- Plaintiff does not contest Defendants’ motion to dismiss Count I as to

Mahoney and Klar only.
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As to the first prong, a "short and plain" statement "needs only
enough detail to provide a defendant with ‘fair notice of what
the ... claim is and the grounds upon which it rests.'" Id.

(quoting Twombly, 550 U.S. at 555, 127 $.Ct. 1955). In order to

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satisfy the second prong of showing an entitlement to relief, "a
compiaint must contain enough factual material “to raise a right
to relief above the speculative level on the assumption that all
the allegations in the complaint are true feven if doubtful in

fact).'" Td. (quoting Twombly, 550 U.S. at 555, i127 S.ct. 1955).

Sisco v. DLA PIPER LLP, 833 F. Supp. 2d 133 - Dist. Court, 2D.

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“To survive a motion to dismiss, a complaint must contain
sufficient factual matter, accepted as true, to state a claim to
relief that is plausible on its face.” Ashcroft v. Iqbal, 129 S.
Ct. 1937, 1949 (2009) (internal citation and guotation marks
omitted). To establish facial plausibility, the complaint must

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provide enough fact to raise a reasonable expectation that
discovery will reveal evidence of illegal [conduct].’” Arista
Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010) (queting
Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 556 (2007)).

This plausibility standard does not equal a “probability

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but requires “more than a sheer possibilits

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requirement,’

defendant has acted unlawfully.” Iqbal, 129 8. Ct. at 1949
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(internal citation omitted). Although legal conclusions can
provide the framework of a complaint, they must be supported by
factual allegations. Id. at 1950. “When there are weli-pleaded
factual allegations, a court should assume their veracity and
then determine whether they plausibly give rise to an

entitlement to relief.” Id.

Even where a complaint is not “a model of the careful
drafter’s art, . . . under the Federal Rules of Civil Procedure,
a complaint need not pin [a] plaintiff’s claim for relief to a
precise legal theory. Rule 8(a) (2) of the Federal Rules of Civil
Procedure generally requires only a plausible ‘short and piain’
statement of the plaintiff’s claim, not an exposition of his
legal argument.” Skinner v. Switzer, 131 S.ct. 1289, 179 L. Ed.
2d 233, 242 (2011) (reversing and remanding dismissal of
plaintiff’s § 1983 case), referencing 5 C. Wright & A. Miller,
Federal Practice & Procedure § 1219, pp. 277-278 (3d ed. 2004

and Supp. 2010).

Under Rule 12(b) (6), dismissal is proper only where
plaintiff cannot possibly state a cognizable claim, and cannot
cure a defect in the complaint through amendment.

In deciding a motion under Rule 12(b) (€), the court must decide

whether the facts alleged, if true, would entitie the plaintiff

to some form of legal remedy. Unless the answer is unequivocally
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“no,” the motion must be denied. Conley v. Gibson, 355 U.

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45-56 (1957); De La Cruz v. Tormey, 582 F.2d 45, 48 (Sth Cir.
1978).

By expressly stating that leave to amend “shall be freely given
when justice so requires,” Rule 15(a) severely restricts the
court’s power to dismiss a complaint. Leave to amend should be
denied only if the court determines that “allegations of other
facts consistent with the challenged pleading could not possibly
cure the defect.” Schreiber Distributing Co. v. Serv-Well
Furniture Co., Inc., 806 F.2d 1393, 1401 (9th Cir. 1988}

(emphasis added).

If the Court finds that Plaintiffs’ complaints are

insufficient, the appropriate remedy is amendment, not dismissal

I. The Complaint States A Valid Claim Under Chapter 151B Because

Plaintiff’s Waiver Was Induced By Fraud And It Did Not Comply

with The Older Workers’ Benefit Protection Act.

Plaintiff acknowledges he signed a document that, on its
face, appears to waive his right to bring a claim uncer Chapter
151B against Defendants. The waiver is invalid, however, for
three reasons: first, Defendants’ misrepresented to Plaintiff
that he was being laid off because his position had been
eliminated, when, in fact, it had not been eliminated; second

thus, Plaintiff’s waiver was not “knowing and voluntary” under a
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totality of the circumstances test; third, Defendants’ failed to

comply with the requirements of the OWBPA.

A. The Waiver Was Invalid Because It Was Induced By Fraud.

As Defendant correctly explains, To state a claim for
fraud, the plaintiff must allege facts making it plausible that
(1) the misrepresentation was material; (2) the defendant knew
the representation was false at the time it was made; (3) the
defendant made the false misrepresentation for the purposes of
inducing the plaintiff to act in reliance on it; (4) the
plaintiff actually and reasonably relied on the
misrepresentation; and (5) the plaintiff was damaged. See,e.g.
Zimmerman v. Kent, 31 Mass. App. Ct. 72, 77 (1991). Defendants
are wrong, however, that Plaintiff’s complaint fails to allege a

claim cf fraud.

i. Material Misrepresentation

Manager and decision-maker Mahoney told Plaintiff that his
position had been eliminated and that he would be offered a
severance package in exchange for waiving his claims. (Cite to

Complaint.) This was clearly a material statement. Basic, Inc.

The facts supporting the araqument that the waiver is invalid because it was
induced by fraud are the same factsS supporting the separate claim for

=raudulent inducement.
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v. Levinson, 485 U.S. 224, 232, 108 S.Ct. 973, 99 L.Ed.2d 194

(1988) (statement is material if it would have “significantly

altered the total mix of information made available”).

She knew at the time she made that statement that it was a
material misrepresentation, and that in fact she already planned

to replace him.

ili. Representation Was False.

Four months after Plaintiff was terminated, Salsman was
hired either into the Plaintiff’s now vacant position, with a
slightly modified job title (“Creative Manager” instead of
“Corporate Design Manager”), or Mahoney had gone through the
formal process of creating a position that fills the same
function as the Plaintiff’s position, which Mahoney stated was
eliminated. In either case, Mahoney’s statement that Plaintiff's

position was eliminated was false and Mahoney knew it.

First, Wellington Knew That It Had Not, Substantively,
Eliminated Plaintiff’s Position. Plaintiff knows from thirteen
years as a Manager with Wellington, including experience
formalizing new job descriptions, that the process for creating
a new position and hiring into it is time consuming. See

Affidavit of Frederick L. Runyon, (“Runyon Aff.”}), attached
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hereto, at Exhibit One’. The process includes informal
preliminary discussions with superiors, their approval to
proceed, the crafting of a job description (entailing a back and
forth process between managers and superiors that typically
takes weeks), formal submission for approval to a management
committee that meets infrequently (the “Compensation
Committee”), posting the open position internally, working with
outside Placement Firms to identify potential external
candidates, scheduling preliminary interviews, then expanded
interviews (often requiring multiple visits by candidates),
extension of a formal job offer, negotiation or acceptance, a
rigorous background check, then agreement on a start date that
allows candidate to provide a minimum of two weeks notice, often
more, to their current employer. (Runyon Aff., Exhibit One).
That whole process can take three or four months on a fast
track. Plaintiff can provide documentation to support that

assertion. Runyon Aff.

Following Plaintiff’s termination, staff that reported to
him were not given anyone to report to permanently until Salsman

was hired. Runyon Aff., Exhibit One)

That sequence of events strongly indicates that at the time

Plaintiff was terminated the only plan for managing those staff

“ ™ates on documents in Exhibit One show a process that took ten months.
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needs was to hire a replacement manager to whom the designers

would be permanently assigned.

It defies credibility for Mahoney and/or Klar to claim they
did not have a plan in place to replace Plaintiff at the time
they terminated his employment and told him his position had

been eliminated.

Moreover, a comparison of Plaintiff’s resume and Salsman’s
resume will show an extremely close equivalency between
Plaintiff’s experience and Salsman’s experience. See Runyon

Atf., at Exhibit Two.

Salsman’s job title is “Creative Manager.” Plaintiff’s job
title was “Corporate Design Manager.” The job description for
“Corporate Design Manager” makes very clear that Plaintiff’s
responsibilities for the direction and oversight of Wellington’s
creative product were comprehensive, and included all creative
work in all media in all the firm’s global offices. See Runyon
Aff., at Exhibit Three. It is highly unlikely that Salsman’s

responsibilities differ in any meaningful way.

At no point prior to his termination was there any comment
or suggestion that Plaintiff was lacking skills needed to
perform his duties, or was not meeting management’s

expectations. At no point prior to his termination was Plaintiff
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provided guidance regarding management’s expectations of him, or
offered training and/or development opportunities to acquire or

improve skills the Company may have deemed necessary.

1ii. Wellington Made The Misrepresentation For The Purpose Of

Plaintiff Relying On It In Deciding To Sign His Severance

Agreement and Waive His Claims Under Chapter 151B.

The allegations create the reasonable inference that the
Defendants intended that the misrepresentation regarding the
elimination of Plaintiff’s position would induce Plaintiff to
Sign the release they expected would shield them from
accountability for their discriminatory actions. It is without
dispute that Defendants represented that his position had been
eliminated. This was the entire reason for his termination and
the offer of his severance package. More information about the
Defendant’s motivation behind the representation can only be

obtained through discovery.

It is also without dispute that Plaintiff relied on the
representation that his position had been eliminated to sign
away his right to bring a Chapter 151B claim. The involuntary

waiver of a legal remedy, of course, constitutes damages.

Plaintiff acknowledges that some of the facts recited above are

only contained in his affidavit, filed contemporaneously with
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this opposition, and not in the original complaint. As explained
infra, Plaintiff requests leave to amend his complaint to

include such facts if the Court deems necessary.

II. Plaintiff's Waiver of His Chapter 151B Rights Is Invalid

Because It Was Not Knowing and Voluntary.

Applying the Totaiity of Circumstance approach to determine
validity as to state law, it is clear that Plaintiff did not
knowingly and voluntarily waive his Chapter 151B rights.

A court must examine the totality of the circumstances
surrounding the signature, including such matters as:
(1) the employee's education and business experience; (2) the
employee's input in negotiating the terms of the settlement; (3)
the clarity of the agreement; (4) the amount of time the
employee had for deliberation before signing the release; (5)
whether the employee actually read the release and considered
its terms before signing it; (6) whether the employee was
represented by counsel or consulted with an attorney; ({7)
whether the consideration given in exchange for the waiver
exceeded the benefits to which the employee was already entitled
by contract or law; and (8) whether the employee's release was
induced by improper conduct on the defendant's part.[{emphasis

added] Howell v. Motorola, Inc., 633 F. 3d 552 - Court of

Appeals, 7th Circuit 2011

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If a release meets the minimum standards set by the OWBPA,
further inquiry is required to decide whether the release was
executed knowingly and voluntarily. As a matter of law, the
OWBPA provides that it's requirements set only a minimum
standard. Wastak at 295 n. 8. Legislative history states that
once the minimum requirement has been met, a court may proceed
to determine whether the execution of a waiver is "knowing and
voluntary." Id. (Citing 5S. Rep. No. 101-263, at 32 (1990)). The
"totality of the circumstances" approach is used by the Third
Circuit to make such a determination. See Wastak at 295.

Ricciardi v. Electronic Data Systems Corporation, Dist. Court,

ED Pennsylvania 2007

Current EEOC rules(“Understanding Waivers Of Discrimination
Claims In Employee Severance Agreements”) provide the following

guidance:

“7, Are there other factors that may make a waiver of age
claims invalid?
Yes. Even when a waiver complies with OWBPA'’sS requirements (see
Question and Answer 6 above), a waiver of age claims, like
waivers of Title VII and other discrimination claims, will be
invalid and unenforceable if an employer used fraud, undue
influence, or other improper conduct to coerce the employee to

sign it, or if it contains a material mistake, omission, or
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misstatement.

Example 8: An employee who was told that his termination
resulted from “reorganization” signed a waiver in exchange for
severance pay. After a younger person was hired to do his former
job, he filed a lawsuit alleging age discrimination. The company
then changed its position and claimed that the real reason for
the employee’s discharge was his poor performance. The employee
argued that his waiver was invalid due to fraud and that if he
had known that he was being terminated because of alleged poor
performance, he would have suspected age discrimination and
would not have signed the waiver. The court held that fraud was

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a sufficient reason for finding the waiver invalid. [23]

Plaintiff had no input in negotiating the terms of the
release, but much more importantly, Plaintiff was induced to
Sign the release by improper conduct on the Defendants’ part.
(See arguments under “Material Misrepresentation” section

preceding.)

Therefore, the release in question should be deemed

invalid.

III. The Court Should Apply The Requirements of The OWBPA To

Plaintiff’s Chapter 151B Claim, Or Certify The Question to The

Massachusetts Supreme Judicial Court.

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While some Federal Courts have declined to use OWBPA
requirements to determine the validity of a Release of Claims
under MGL 151B, no Massachusetts court has squarely addressed

the question.

It is likely, if not highly probable, that the Massachusetts
Supreme Judicial Court would find that the requirements of the
OWBPA apply to age discrimination claims under Chapter 151B. The
SJC has explained: “It is our practice to apply Federal case law
construing the Federal anti-discrimination statutes in
interpreting G.L.c. 151B. See, e.g., Wheelock College v.
Massachusetts Comm'n Against Discrimination, 371 Mass. 130, 135-

139 (1976). We turn therefore to the Federal cases.” Wheatley v.

American Telephone & Telegraph Co., 636 NE 2d 265 - Mass/

Supreme Judicial Court 1994. Additionally, the Legislature has

instructed that Chapter 151B “shall be construed liberally for

the accomplishment of its purposes.” M.G.L. c. 151B, § 9.

Therefore the Court should rule that the OWBPA requirements

for a valid release of claims apply to M.G.L. 151B.

Alternatively, Plaintiff petitions the Court to certify to
the Massachusetts Supreme Judicial Court (the “SJC”), under the
Uniform Certification of Questions of Law Rule, the question of
applicability of The Older Workers Benefit Protection Act to

Chapter 151B age discrimination claims. Tf the SJC determines
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that OWBPA requirements pertain to Massachusetts Law, the

Release of Claims will be invalid as to state law for failing to

meet those requirements.

IV. REQUEST TO AMEND COMPLAINT

If the Court determines that the Complaint does not ailege
a claim under Chapter 151B, Plaintiff respectfully asks for the
Court’s approval to Amend the Complaint to supplement the claim
with sufficient factual information to remedy any deficiency,

and to correct other inadequacies.

Dated this rd day of July, 2013

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‘ If the Release of Claims is deemed invalid as to state law for any reason,
Defendants’ Motion to Dismiss Counts II, IV, and V on the grounds that

Plaintiff signed a Release of Claims must be denied.
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Certificate of Service

I hereby certify that paper copies of this document(s) will be
sent by First Class U.S. Mail to the attorneys for the
Defendants, represented collectively by Ilene Robinson Sunshine

of Sullivan and Worcester LLP, Boston, MA.

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